Case 2:24-cv-10546-MWF-BFM   Document 44 Filed 04/29/25   Page 1 of 18 Page ID
                                  #:1193


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   8                     UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
  10
  11 STEPHEN CHAPMAN,                 )    CASE NO. CV 24-10546-MWF(BFMx)
                                      )
  12                  Plaintiff,      )    ORDER RE JURY TRIAL
                                      )
  13        v.                        )    I.     ORDER RE DEADLINES
                                      )
  14   HORACE MANN PROPERTY AND )          II.    ORDER RE TRIAL
       CASUALTY INSURANCE             )           PREPARATION
  15   COMPANY,                       )
                                      )    III.   ORDER GOVERNING
  16                  Defendant.      )           CONDUCT OF ATTORNEYS
                                      )           AND PARTIES
  17                                  )
                                      )    Trial: June 16, 2026
  18   ______________________________ )    Time: 8:30 a.m.
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Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25       Page 2 of 18 Page ID
                                     #:1194


   1                                            I.
   2                                      DEADLINES
   3    Last Day to Add Parties/Amend Pleadings        June 30, 2025
   4    Non-expert Discovery Cut-off                   January 26, 2026
   5
        Expert Disclosure (Initial)                    December 22, 2025
   6
   7    Expert Disclosure (Rebuttal)                   January 26, 2026
   8    Expert Discovery Cut-off                       February 23, 2026
   9
        Last Day to Hear Motions                       March 2, 2026
  10
  11    Last Day to Conduct ADR Proceeding             March 20, 2026
  12
        File Memorandum of Contentions of Fact         April 27, 2026
  13    and Law, Exhibit and Witness Lists, Status
        Report regarding settlement, and all
  14    Motions in Limine
  15    Lodge Pretrial Conference Order; file          May 4, 2026
        agreed set of Jury Instructions and Verdict
  16    forms, statement regarding Disputed
        Instructions and Verdict Forms, and
  17    Oppositions to Motions in Limine
        Final Pretrial Conference and Hearing on       May 18, 2026, at 11:00 a.m.
  18    Motions in Limine
  19    Trial Date (Est. 7 to 10 Days**)               June 16, 2026, at 8:30 a.m.
  20
  21         **A trial of ten (10) Court days or more requires prescreening of a jury
  22 panel. No later than seven weeks prior to the Final Pretrial Conference, counsel
  23 must file joint notice of the then current estimate for trial, including the number of
  24 hours for testimony (see also ¶ II(A)(4), below). Failure to timely file the notice
  25 may result in continuance of the trial to allow sufficient time for a jury panel to be
  26 prescreened.
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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25     Page 3 of 18 Page ID
                                      #:1195


   1         A.    PARTIES/PLEADINGS
   2         The Court has established a cut-off date for adding parties or amending
   3 pleadings. All motions to add parties or to amend the pleadings must be noticed to
   4 be heard on or before the cut-off date. All unserved parties will be dismissed at
   5 the time of the pretrial conference pursuant to Local Rule 16-8.1.
   6         B.    DISCOVERY AND DISCOVERY CUT-OFF
   7         1.    Discovery Cut-off: The Court has established a cut-off date for
   8 discovery, including expert discovery, if applicable. This is not the date by which
   9 discovery requests must be served; it is the date by which all discovery, including
  10 all hearings on any related motions, is to be completed.
  11         2.    Discovery Disputes: Counsel are expected to comply with the Federal
  12 Rules of Civil Procedure and all Local Rules concerning discovery. Whenever
  13 possible, the Court expects counsel to resolve discovery problems among
  14 themselves in a courteous, reasonable and professional manner. The Court expects
  15 that counsel will adhere strictly to the Civility and Professionalism Guidelines
  16 (which can be found on the Court’s website under Attorney Information, Attorney
  17 Admissions).
  18         3.    Discovery Motions: Any motion challenging the adequacy of
  19 discovery responses must be filed, served, and calendared sufficiently in advance
  20 of the discovery cut-off date to permit the responses to be obtained before that date
  21 if the motion is granted.
  22         4.    Depositions: All depositions shall commence sufficiently in advance
  23 of the discovery cut-off date to permit their completion and to permit the deposing
  24 party enough time to bring any discovery motions concerning the deposition before
  25 the cut-off date. Given the requirements to “meet and confer” and to give notice,
  26 in most cases a planned motion to compel must be discussed with opposing
  27 counsel at least six weeks before the cut-off.
  28 ///

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25      Page 4 of 18 Page ID
                                      #:1196


   1         5.      Written Discovery: All interrogatories, requests for production of
   2 documents and requests for admissions must be served sufficiently in advance of
   3 the discovery cut-off date to permit the discovering party enough time to challenge
   4 (via motion practice) responses deemed to be deficient.
   5         6.      Expert Discovery: All disclosures must be made in writing. The
   6 parties should begin expert discovery shortly after the initial designation of
   7 experts. The final pretrial conference and trial dates will not be continued merely
   8 because expert discovery is not completed. Failure to comply with these or any
   9 other orders concerning expert discovery may result in the expert being excluded
  10 as a witness.
  11         C.      LAW AND MOTION
  12         1.      The Court has established a cut-off date for the hearing of motions.
  13 All motions must be noticed so that the hearing takes place on or before the motion
  14 cut-off date. Counsel are advised that the Court may close a hearing date once the
  15 number of motions filed exceeds the maximum number of motions that reasonably
  16 can be heard on that date. Counsel should anticipate that a preferred hearing date
  17 may not be available. Therefore, to avoid being unable to file a motion to be heard
  18 by the cut-off date, counsel should file motions sufficiently in advance of the
  19 hearing cut-off date to ensure that a hearing date is available.
  20         2.      Counsel must provide Chambers with conformed Chambers copies of
  21 all documents. Counsel should consult the Court’s website at
  22 www.cacd.uscourts.gov, Judges’ Procedures and Schedules, Hon. Michael W.
  23 Fitzgerald, for further information regarding Chambers copies and motion
  24 procedures.
  25         D.      SETTLEMENT PROCEDURES
  26         Counsel must complete a settlement conference under the Court-Directed
  27 ADR Program no later than the date set by the Court. If the parties desire to
  28 participate in an ADR procedure other than that elected in the Rule 26(f)

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25        Page 5 of 18 Page ID
                                      #:1197


   1 Scheduling Report and Order, they shall file a stipulation with the Court. This
   2 request will not necessarily be granted.
   3         No case will proceed to trial unless all parties, including the principals of all
   4 corporate parties, have appeared personally at a settlement conference.
   5         E.     FINAL PRETRIAL CONFERENCE
   6         A final pretrial conference date has been set pursuant to Rule 16 of the
   7 Federal Rules of Civil Procedure and Local Rule 16-8. Unless excused for good
   8 cause, each party appearing in this action shall be represented at the final pretrial
   9 conference by the lead trial counsel for that party. Counsel should be prepared to
  10 discuss streamlining the trial, including presentation of testimony by deposition
  11 excerpts or summaries, time limits, stipulations as to undisputed facts, and
  12 qualification of experts by admitted resumes.
  13                                             II.
  14                                TRIAL PREPARATION
  15         A.     PRETRIAL DOCUMENTS
  16         1.     All pretrial document copies shall be delivered to the Court “binder-
  17 ready” (three-hole punched on the left side, without blue-backs, and stapled only in
  18 the top left corner).
  19         2.     STRICT COMPLIANCE WITH LOCAL RULE 16 IS REQUIRED.
  20 THIS ORDER SETS FORTH SOME DIFFERENT AND SOME ADDITIONAL
  21 REQUIREMENTS. THIS COURT DOES NOT EXEMPT PRO PER PARTIES
  22 FROM THE REQUIREMENTS OF RULE 16. Carefully prepared memoranda of
  23 contentions of fact and law, witness lists, a joint exhibit list, and a proposed final
  24 pretrial conference order shall be submitted in accordance with the Rules, and the
  25 format of the proposed final pretrial conference order shall conform to the format
  26 set forth in Appendix A to the Local Rules. Failure to comply with these
  27 requirements may result in the final pretrial conference being taken off-calendar or
  28 continued, or in other sanctions.

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Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25       Page 6 of 18 Page ID
                                     #:1198


   1         3.    The filing schedule for pretrial documents is as follows.
   2               a.     At least 21 days before final pretrial conference:
   3                      •     Memorandum of contentions of fact and law
   4                      •     Witness lists
   5                      •     Joint exhibit list
   6                      •     Motions in limine
   7               b.     At least 14 days before final pretrial conference:
   8                      •     Proposed final pretrial conference order
   9                      •     Proposed jury instructions
  10                      •     Proposed verdict forms
  11                      •     Statement of the case
  12                      •     Proposed additional voir dire questions, if desired
  13                      •     Oppositions to motions in limine
  14               c.     At least 7 days before trial:
  15                      •     Trial briefs, if desired
  16         4.    In addition to the requirements of Local Rule 16, the witness lists
  17 must include a brief description (one or two paragraphs) of the testimony and a
  18 time estimate for both direct and cross-examination (separately stated).
  19         B.    MOTIONS IN LIMINE
  20         Each party is limited to five (5) motions in limine, unless the Court grants
  21 leave to file additional motions. All motions and oppositions are limited to ten
  22 (10) pages in length. All motions in limine must be filed at least three weeks
  23 before the final pretrial conference; oppositions must be filed at least two weeks
  24 before the final pretrial conference; reply briefs will not be accepted. Counsel are
  25 to meet and confer with opposing counsel to determine whether opposing counsel
  26 intend to introduce the disputed evidence and to attempt to reach an agreement that
  27 would obviate the motion. The Court will rule on motions in limine at the final
  28 pretrial conference. Motions in limine should address specific issues (e.g., not “to

                                                 6
Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25        Page 7 of 18 Page ID
                                     #:1199


   1 exclude all hearsay”). Motions in limine should not be disguised motions for
   2 summary adjudication of issues.
   3         C.     JURY INSTRUCTIONS, STATEMENT OF THE CASE, AND VOIR
   4                DIRE
   5         1.     Pursuant to Local Rule 16-2, lead trial counsel for each party are
   6 required to meet and confer in person. The Court expects strict compliance with
   7 Local Rule 16-2. Fourteen days before the Local Rule 16-2 meeting, the parties
   8 shall exchange their respective proposed jury instructions and special verdict
   9 forms. Ten days prior to the Local Rule 16-2 meeting, each party shall serve
  10 objections to the other’s instructions and verdict forms. Before or at the Rule 16-2
  11 meeting, counsel are ordered to meet and confer and attempt to come to agreement
  12 on the proposed jury instructions and verdict forms.
  13         2.     At the time of filing the proposed final pretrial conference order,
  14 counsel shall file with the Court a JOINT set of jury instructions on which there is
  15 agreement. All blanks in standard forms should be filled in. The Court expects
  16 counsel to agree on the substantial majority of jury instructions, particularly when
  17 pattern or model instructions provide a statement of applicable law. If one party
  18 fails to comply with the provisions of this section, the other party must file a
  19 unilateral set of jury instructions.
  20         3.     At the same time, each party shall file its proposed jury instructions
  21 that are objected to by any other party. Each disputed instruction must have
  22 attached a short statement (one or two paragraphs), including points and
  23 authorities, in support of the instruction and a brief statement, including points and
  24 authorities, in support of any objections. If applicable, a proposed alternative
  25 instruction must be provided.
  26         4.     When the Manual of Model Jury Instructions for the Ninth Circuit
  27 provides an applicable jury instruction, the parties should submit the most recent
  28 version, modified and supplemented to fit the circumstances of this case. Where

                                                 7
Case 2:24-cv-10546-MWF-BFM        Document 44 Filed 04/29/25        Page 8 of 18 Page ID
                                       #:1200


   1 California law applies, counsel should use the current edition of the Judicial
   2 Council of California Civil Jury Instructions (“CACI”). If neither is applicable,
   3 counsel should consult the current edition of O’Malley, et al., Federal Jury
   4 Practice and Instructions. Each requested instruction shall (a) cite the authority or
   5 source of the instruction, (b) be set forth in full, (c) be on a separate page, (d) be
   6 numbered, (e) cover only one subject or principle of law, and (f) not repeat
   7 principles of law contained in any other requested instruction.
   8          Counsel may submit alternatives to these instructions only if counsel has a
   9 reasoned argument that they do not properly state the law or they are incomplete.
  10          5.    Counsel must provide the documents described in paragraphs 2 and 3
  11 to the Chambers email box in Word or WordPerfect 9 (or above) format at the time
  12 they file their proposed jury instructions.
  13          6.    The Court will send one or more copies of the instructions into the
  14 jury room for the jury’s use during deliberations. Therefore, in addition to the
  15 copies described above, the Chambers email version must contain a “clean” set of
  16 jury instructions, containing only the text of the instruction (one per page) with the
  17 caption “Instruction No. __” at the top (eliminating titles, supporting authority,
  18 etc.).
  19          7.    Counsel must provide an index of all instructions submitted, which
  20 must include the following:
  21                a.      the number of the instruction;
  22                b.      the title of the instruction;
  23                c.      the source of the instruction and any relevant case citations; and
  24                d.      the page number of the instruction.
  25 For example:
  26 Number         Title                               Source            Page Number
  27 1              Trademark-Defined                   9th Cir. 8.5.1           1
  28                (15.U.S.C. § 1127)

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25        Page 9 of 18 Page ID
                                      #:1201


   1         8.     During the trial and before argument, the Court will meet with counsel
   2 and settle the instructions, and counsel will have an opportunity to make a further
   3 record concerning their objections.
   4         9.     At the time of filing the proposed final pretrial conference order,
   5 counsel should file a jointly prepared one- or two-page statement of the case to be
   6 read by the Court to the prospective panel of jurors before commencement of voir
   7 dire.
   8         10.    The Court will conduct the voir dire. The Court provides a list of
   9 basic questions, and may provide a list of additional questions to jurors before voir
  10 dire. (This is not a questionnaire to be completed by jurors.) Counsel may, but are
  11 not required to, file and submit (electronically to the Chambers email box and in
  12 paper form) a list of proposed case-specific voir dire questions at the time they file
  13 the proposed final pretrial conference order.
  14         11.    In most cases the Court will conduct its initial voir dire of all
  15 prospective jurors. Generally the Court will select eight jurors.
  16         12.    Each side will have three peremptory challenges. Following the
  17 exercise of all peremptory challenges, the eight jurors in the lowest numbered seats
  18 will be the jury. The Court will not necessarily accept a stipulation to a challenge
  19 for cause. If one or more challenges for cause are accepted, and all six peremptory
  20 challenges are exercised, the Court may decide to proceed with six or seven jurors.
  21         D.     TRIAL EXHIBITS
  22         1.     Exhibits must be placed in three-ring binders indexed by exhibit
  23 number with tabs or dividers on the right side. Counsel shall submit to the Court
  24 an original and copy of the binders. The spine portion of the binder shall indicate
  25 the volume number and contain an index of each exhibit included in the volume.
  26         2.     The Court requires that the following be submitted to the Courtroom
  27 Deputy Clerk (“CRD”) on the first day of trial:
  28                a.    One (set of) binder(s) of original exhibits with the Court’s

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25        Page 10 of 18 Page ID
                                       #:1202


    1 exhibit tags, yellow tags for plaintiff and blue tags for defendant, stapled to the
    2 front of the exhibit on the upper right-hand corner with the case number, case
    3 name, and exhibit number placed on each tag.
    4                b.     Two (sets of) binders with a copy of each exhibit tabbed with
    5 numbers as described above for use by the Court. (Exhibit tags are not necessary
    6 on these copies.)
    7                c.     Three copies of the party’s (or joint) witness list in the order in
    8 which the witnesses may be called to testify.
    9                d.     Three copies of the joint exhibit list in the form specified in
   10 Local Rule 16-5 (Civil), which shall also be sent in Word or WordPerfect format to
   11 the Chambers email box no later than noon on the Monday before trial.
   12                e.     All of the exhibits (except those to be used for impeachment
   13 only), with official exhibit tags attached and bearing the same number shown on
   14 the exhibit list. Exhibit tags may be obtained from the Clerk's Office Window, 4th
   15 Floor, First Street Courthouse, located at 350 West First Street, Los Angeles,
   16 California 90012. Digital exhibit tags are also now available on the Court's
   17 website under Court Forms > General Forms > Form G-14A (Plaintiff) and G-14B
   18 (Defendant). Digital exhibit tags may be used in place of the tags obtained from
   19 the Clerk's Office.
   20         Exhibits shall be numbered 1, 2, 3, etc., NOT 1.1, 1.2, etc. The defense
   21 exhibit numbers shall not duplicate plaintiff’s numbers. If a “blow-up” is an
   22 enlargement of an existing exhibit, it shall be designated with the number of the
   23 original exhibit followed by an “A.” These items (and the items listed in d and e
   24 below) shall be provided on the first day of trial.
   25                f.     The binder of original exhibits with the Court’s exhibit tags,
   26 yellow tags for plaintiff and blue tags for defendant, stapled to the front of the
   27 exhibit at the upper right-hand corner with the case number, case name, and exhibit
   28 number placed on each tag.

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25       Page 11 of 18 Page ID
                                       #:1203


    1                g.     A three-ring binder containing a copy of all exhibits that can be
    2 reproduced, and a copy of the witness list. Each exhibit shall be tabbed with the
    3 exhibit number for easy referral.
    4                h.     A three-ring binder containing a copy of all exhibits for use by
    5 witnesses.
    6         3.     A copy of the exhibit list with all admitted exhibits will be given to
    7 the jury during deliberations. Counsel shall review and approve the exhibit list with
    8 the CRD before the list is given to the jury.
    9         4.     Where a significant number of exhibits will be admitted, the Court
   10 encourages counsel, preferably by agreement, to consider ways in which testimony
   11 about exhibits may be made intelligible to the jury while it is being presented.
   12 Counsel should consider such devices as overhead projectors, jury notebooks for
   13 admitted exhibits or enlargements of important exhibits. [The Court has an Elmo
   14 and other equipment available for use during trial.] Information concerning
   15 training on the use of electronic equipment is available. Details are posted on the
   16 Court’s website. To make reservations for training, call 213-894-3061. The Court
   17 does not permit exhibits to be “published” by passing them up and down the jury
   18 box. Exhibits may be displayed briefly using the screens in the courtroom, unless
   19 the process becomes too time-consuming.
   20         5.     All counsel are to meet not later than ten days before trial and to
   21 stipulate, so far as is possible, to foundation, to waiver of the best evidence rule,
   22 and to those exhibits that may be received into evidence at the start of the trial. The
   23 exhibits to be so received will be noted on the Court’s copy of the exhibit list.
   24         E.     COURT REPORTER
   25         Any party requesting special court reporter services for any hearing (i.e., real
   26 time transmission, daily transcripts) shall notify the reporter at least two weeks
   27 before the hearing date.
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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25        Page 12 of 18 Page ID
                                       #:1204


    1         F.     JURY TRIAL
    2         1.     On the first day of trial, court will commence at 8:30 a.m. and
    3 conclude at approximately 4:30 p.m. with a one-hour lunch break. On the first day
    4 of trial, counsel must appear at 8:30 a.m. to discuss preliminary matters with the
    5 Court. After the first day of trial, trial days are Tuesday through Friday from 8:30
    6 a.m. to approximately 2:30 p.m. with two twenty-minute breaks.
    7         2.     On the first day of trial, the jury panel will be called when the Court is
    8 satisfied that the matter is ready for trial. Jury selection usually takes only a few
    9 hours. Counsel should be prepared to proceed with opening statements and
   10 witness examination immediately after jury selection.
   11         3.     Counsel shall refer to jurors by number only, not by name.
   12                                            III.
   13                   CONDUCT OF ATTORNEYS AND PARTIES
   14         A.     OPENING STATEMENTS, EXAMINING WITNESSES, AND
   15                SUMMATION
   16         1.     Counsel must use the lectern.
   17         2.     Counsel must not consume time by writing out words, drawing charts
   18 or diagrams, etc. Counsel may prepare such materials in advance.
   19         B.     OBJECTIONS TO QUESTIONS
   20         1.     Counsel must not use objections for the purpose of making a speech,
   21 recapitulating testimony, or attempting to guide the witness.
   22         2.     When objecting, counsel must rise to state the objection and state only
   23 that counsel objects and the legal ground of objection. If counsel wishes to argue
   24 an objection further, counsel must ask for permission to do so.
   25         C.     GENERAL DECORUM
   26         1.     Counsel should not approach the CRD or the witness box without
   27 specific permission and must return to the lectern when the purpose for
   28 approaching has been accomplished.

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Case 2:24-cv-10546-MWF-BFM       Document 44 Filed 04/29/25        Page 13 of 18 Page ID
                                       #:1205


    1         2.     Counsel should rise when addressing the Court, and when the Court or
    2 the jury enters or leaves the courtroom, unless directed otherwise.
    3         3.     Counsel should address all remarks to the Court. Counsel are not to
    4 address the CRD, the court reporter, persons in the audience, or opposing counsel.
    5 If counsel wish to speak with opposing counsel, counsel must ask permission to do
    6 so. Any request for the re-reading of questions or answers shall be addressed to
    7 the Court. Requests may not be granted.
    8         4.     Counsel should not address or refer to witnesses or parties by first
    9 names alone, with the exception of witnesses under 14 years old.
   10         5.     Counsel must not offer a stipulation unless counsel have conferred
   11 with opposing counsel and have verified that the stipulation will be acceptable.
   12         6.     While Court is in session, counsel must not leave counsel table to
   13 confer with any person in the back of the courtroom unless permission has been
   14 granted in advance.
   15         7.     Counsel shall not make facial expressions, nod, or shake their heads,
   16 comment, or otherwise exhibit in any way any agreement, disagreement, or other
   17 opinion or belief concerning the testimony of a witness. Counsel shall admonish
   18 their clients and witnesses not to engage in such conduct.
   19         8.     Counsel should not talk to jurors at all, and should not talk to co-
   20 counsel, opposing counsel, witnesses, or clients where the conversation can be
   21 overheard by jurors. Each counsel should admonish counsel’s own clients and
   22 witnesses to avoid such conduct.
   23         9.     Where a party has more than one lawyer, only one may conduct the
   24 direct or cross-examination of a particular witness, or make objections as to that
   25 witness.
   26         D.     PROMPTNESS OF COUNSEL AND WITNESSES
   27         1.     Promptness is expected from counsel and witnesses. Once counsel are
   28 engaged in trial, this trial is counsel’s first priority. The Court will not delay the

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Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25       Page 14 of 18 Page ID
                                      #:1206


    1 trial or inconvenience jurors.
    2         2.    If a witness was on the stand at a recess or adjournment, counsel who
    3 called the witness shall ensure the witness is back on the stand and ready to
    4 proceed when trial resumes.
    5         3.    Counsel must notify the CRD in advance if any witness should be
    6 accommodated based on a disability or for other reasons.
    7         4.    No presenting party may be without witnesses. If a party’s remaining
    8 witnesses are not immediately available and there is more than a brief delay, the
    9 Court may deem that party to have rested.
   10         5.    The Court attempts to cooperate with professional witnesses and will,
   11 except in extraordinary circumstances, accommodate them by permitting them to
   12 be called out of sequence. Counsel must anticipate any such possibility and
   13 discuss it with opposing counsel. If there is an objection, counsel must confer with
   14 the Court in advance.
   15         E.    EXHIBITS
   16         1.    Each counsel should keep counsel’s own list of exhibits and should
   17 note when each has been admitted into evidence.
   18         2.    Each counsel is responsible for any exhibits that counsel secures from
   19 the CRD and must return them before leaving the courtroom at the end of the
   20 session.
   21         3.    An exhibit not previously marked should, at the time of its first
   22 mention, be accompanied by a request that it be marked for identification. Counsel
   23 must show a new exhibit to opposing counsel before the court session in which it is
   24 mentioned.
   25         4.    Counsel are to advise the CRD of any agreements with respect to the
   26 proposed exhibits and as to those exhibits that may be received without further
   27 motion to admit.
   28         5.    When referring to an exhibit, counsel should refer to its exhibit

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Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25        Page 15 of 18 Page ID
                                      #:1207


    1 number. Witnesses should be asked to do the same.
    2         6.    Counsel must not ask witnesses to draw charts or diagrams nor ask the
    3 Court’s permission for a witness to do so. Any graphic aids must be fully prepared
    4 before the court session starts.
    5         F.    DEPOSITIONS
    6         1.    All depositions to be used at trial, either as evidence or for
    7 impeachment, must be lodged with the CRD on the first day of trial or such earlier
    8 date as the Court may order. Counsel should verify with the CRD that the relevant
    9 deposition is in the CRD’s possession.
   10         2.    In using depositions of an adverse party for impeachment, either one
   11 of the following procedures may be adopted:
   12               a.     If counsel wishes to read the questions and answers as alleged
   13 impeachment and ask the witness no further questions on that subject, counsel shall
   14 first state the page and line where the reading begins and the page and line where
   15 the reading ends, and allow time for any objection. Counsel may then read the
   16 portions of the deposition into the record.
   17               b.     If counsel wishes to ask the witness further questions on the
   18 subject matter, the deposition shall be placed in front of the witness and the witness
   19 told to read the relevant pages and lines silently. Then counsel may either ask the
   20 witness further questions on the matter and thereafter read the quotations, or read
   21 the quotations and thereafter ask further questions. Counsel should have an extra
   22 copy of the deposition for this purpose.
   23         3.    Where a witness is absent and the witness’s testimony is offered by
   24 deposition, counsel may (a) have a reader occupy the witness chair and read the
   25 testimony of the witness while the examining lawyer asks the questions, or (b)
   26 have counsel read both the questions and answers.
   27 ///
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Case 2:24-cv-10546-MWF-BFM      Document 44 Filed 04/29/25        Page 16 of 18 Page ID
                                      #:1208


    1         G.     USING NUMEROUS ANSWERS TO INTERROGATORIES AND
    2                REQUESTS FOR ADMISSIONS
    3         Whenever counsel expects to offer a group of answers to interrogatories or
    4 requests for admissions extracted from one or more lengthy documents, counsel
    5 should prepare a new document listing each question and answer and identifying
    6 the document from which it has been extracted. Copies of this new document
    7 should be given to the Court and opposing counsel.
    8         H.     ADVANCE NOTICE OF UNUSUAL OR DIFFICULT ISSUES
    9         If any counsel have reason to anticipate that a difficult question of law or
   10 evidence will necessitate legal argument requiring research or briefing, counsel
   11 must give the Court advance notice. Counsel are directed to notify the CRD at the
   12 day’s adjournment if an unexpected legal issue arises that could not have been
   13 foreseen and addressed by a motion in limine. See Fed. R. Evid. 103. Counsel
   14 must also advise the CRD at the end of each trial day of any issues that must be
   15 addressed outside the presence of the jury, so that there is no interruption of the
   16 trial. THE COURT WILL NOT KEEP JURORS WAITING.
   17
   18         N.B. “COUNSEL,” AS USED IN THIS ORDER, INCLUDES PARTIES
   19 APPEARING IN PROPRIA PERSONA.
   20
   21         IT IS SO ORDERED.
   22
   23 Dated: April 29, 2025                    __________________________________
                                               MICHAEL W. FITZGERALD
   24                                          United States District Judge
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Case 2:24-cv-10546-MWF-BFM    Document 44 Filed 04/29/25   Page 17 of 18 Page ID
                                    #:1209


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    8                        UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10
   11                                  )         CASE NO. CV          -MWF( x)
                                       )
   12                  Plaintiff(s),   )         EXHIBIT LIST
                                       )
   13        v.                        )             SAMPLE FORMAT
                                       )
   14                                  )
                                       )
   15                  Defendant(s).   )
        ______________________________ )
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   17   EX. No.   DESCRIPTION                 IDENTIFIED         ADMITTED
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    8                        UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10
   11                                  )         CASE NO. CV               -MWF( x)
                                       )
   12                  Plaintiff(s),   )         WITNESS LIST
                                       )
   13        v.                        )              SAMPLE FORMAT
                                       )
   14                                  )
                                       )
   15                  Defendant(s).   )
        ______________________________ )
   16
   17                                               DATES OF TESTIMONY
          WITNESSES FOR PLAINTIFF
   18
                                              (to be filled in during trial)
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   22     WITNESSES FOR DEFENDANT
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